   Fill in this information to identify the case:

Debtor 1                 Josh Lee Young
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Northern District of Ohio
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1740615
Case number __________________________



 Official Form 410S1
 Amended Notice of Mortgage Payment Change                                                                                                            12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                            2
                                                                                                  Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                  Date of payment change:
                                                                                                  Must be at least 21 days after date
                                                                                                  of this notice                           07/01/2020
                                                                                                                                           _____________


                                                                                                 New total payment:
                                                                                                                                            414.05
                                                                                                                                           $________________
                                                                                                 Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                     0 ____
                                                                   ____ 2 ____
                                                                           0 ____
                                                                               9

   Part 1:            Escrow Account Payment Adjustment

 1.        Will there be a change in the debtor’s escrow account payment?

           
           ✔   No
              Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
               for the change. If a statement is not attached, explain why:



               Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

 2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
           variable-rate account?
           
           ✔   No
              Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
               attached, explain why:



               Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


      3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
                No
            ✔
                Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)
               Reason for change:
               Payment change resulting from a deletion of Mortgage Insurance Premium



                                                   507.37
                      Current mortgage payment: $ _________________                                                       414.05
                                                                                                  New mortgage payment: $ _________________
 Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 1

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                     Josh Lee Young                                                                               1740615
      Debtor 1       ________________________________________________________                 Case number (if known) ______________________
                     First Name         Middle Name         Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Rosemary Allen
      ______________________________________________________________
      Signature
                                                                                          06/24/2020
                                                                                    Date _______________




 Print:______________________________________________________________
        ALLEN,ROSEMARY                                                               VP Loan Documentation
                                                                                    ____________________________________________________________
        First Name                Middle Name               Last Name               Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                    Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                             State     ZIP Code



                     800-274-7025                                                    NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                            ____________________________________________________________
                                                                                    Email




Official Form 410S1                                           Notice of Mortgage Payment Change                                               page 2


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                     UNITED STATES BANKRUPTCY COURT
                                                        Northern District of Ohio


                                                   Chapter 13 No. 1740615
                                                   Judge: RUSS KENDIG

In re:
Josh Lee Young
                                          Debtor(s).

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before June 24, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    Josh Lee Young
                                    370 Summer

                                    Leetonia OH 44431



                                   By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    N/A




Debtor’s Attorney:                  By Court's CM/ECF system registered email address
                                    Robert A. Ciotola

                                    3701 Boardman Canfield Road Unit 1

                                    Canfield OH 44406


                                    By Court's CM/ECF system registered email address
                                    N/A




Trustee:                            By Court's CM/ECF system registered email address
                                    Michael A. Gallo

                                    5048 Belmont Avenue

                                    Youngstown OH 44505

                                                          _______________________________________________
                                                          /s/Rosemary Allen
                                                           VP Loan Documentation
                                                           Wells Fargo Bank, N.A.
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